Case 2:04-cv-03016-.]PI\/|-STA Document 7 Filed 08/30/05 Page 1 of 2 Page|D 10

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KEVIN MILLEN, J'UDGMENT IN A CIVIL CASE
Plaintiff,
v.
FRIEDMAN'S, INC., CASE NO: 04-3016 Ml/A.n
Defendant.

 

JUDGMENT

 

JUDGMENT BY COURT. This action having come before the Court for
consideration, the issues having been considered, and a decision
rendered,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance

with the Order of Dismissal, entered August gSG>, 2005, this case
is DISMISSED.

APPROVED:

/Q@@Wl(

JON P. MCC.ALLA

UN ED STATES DISTRICT COURT

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Date Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CV-030]6 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Kevin Millen
4104 Stillwood Dr.
Memphis7 TN 38128

Honorable J on McCalla
US DISTRICT COURT

